~AO   245B    (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1



                                            UNITED STATES DISTRICT COURT
                         Southern                                       District of                                  Ohio
          UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                 v.
                                                                               Case Number:                     2:05-cr-134
             DUNYASHA MON YETTS                                                USMNumber:                       66635-061

                                                                               Samuel Shamansky
                                                                               Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)            1, 2 and 9 of the Indictment.

o pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                         Offense Ended           Count
18:1341                               Mail Fraud                                                                 7/17/2001                1
18:1341                               Mail Fraud                                                                 7/17/2001                2
21:846                                Conspiracy to Distribute and Possess With Intent to Distribute             80f2001                  9
                                      Marijuana


       The defendant is sentenced as provided in pages 2 through                       5
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      3 - 8 and 10 - 13                           D is        X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              August 28, 2007
                                                                               Date of Imposition of Judgment



                                                                              ~~uV
                                                                               Signa   e of Judge




                                                                              John D. Holschuh, United States District Judge
                                                                              Name and Title of Judge



                                                                              Date
AO 245B       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - Imprisonment

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                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:


 18 months on each of Counts 1,2, and 9, with each term of imprisonment to run concurrently.



     XThe court makes the following recommendations to the Bureau of Prisons:
          The Court recommends that defendant serve his term of imprisonment at facility near Ohio.




     DThe defendant is remanded to the custody of the United States Marshal.

     DThe defendant shall surrender to the United States Marshal for this district:

          o     at    __________ 0 a.m.                         o    p.rn.    on

          o     as notified by the United States Marshal.

     X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o     before 2 p.rn. on

          X     as notified by the United States Marshal.

          o     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                             By                                                      _
                                                                                            DEPUTY UNITED STATES MARSHAL
AO 2458        (Rev. 06/05) Judgment in a Criminal Case
               Sheet 3 ~ Supervised Release
                                                                                                           Judgment-Page       3                5
DEFENDANT:                      Dunyasha Mon Yetts
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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :


Three (3) years on each of Counts 1,2, and 9, with each term of supervised release to run concurrently.


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
X         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

X         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 o        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ,Personal history or characteristics and shall permit the probation officer to make such notifications and to confrrrn the
           defendant s compliance with such notification requirement.
AO 2458   (Rev. 06/05) Judgment in a Criminal Case
          Sheet 5 ­ Criminal Monetary Penalties
                                                                                                                         Judgment ­                  4
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DEFENDANT:                        Dunyasha Mon Yetts
CASE NUMBER:                      2:05-cr-134
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                             Fine                                                           Restitution
TOTALS            $ 300.00                                               $ -0-                                                    $ 1,824,426.40


D The determination of restitution is deferred until                        Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.
                                                                --­. An

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned 'paYlllent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss*                             Restitution Ordered                                           Priority or Percentage
Joanna D. Nahay                                       262,176.82                                   262,176.82                                              100%
Antoine Winfield                                    1,336,000.00                                 1,336,000.00                                              100%
Lois Bagent                                             6,903.72                                     6,903.72                                              100%
Patrick Leonard                                        78,362.25                                    78,362.25                                              100%
Ronald Fisher                                          76,950.25                                    76,950.25                                              100%
Gus & Lori Dakis                                       44,033.51                                    44,033.51                                              100%
David Baust                                            20,000.00                                    20,000.00                                              100%




TOTALS                              $                    1,824,426.40            $                1,824,426.40
                                                                                               ....:.z.:=..:..lc...:..::.::..;,.,,:..:_




X    Restitution amount ordered pursuant to plea agreement $               1,824,426.40

D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the               D fine     D restitution.
     D the interest requirement for the              D    fme     D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1990.
AO 2458    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                        Judgment -   Page    5     of        5
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     X    Lump sum payment of$            1,824,726.40      due immediately, balance due

           D     not later than                                  , or
           X     in accordance           D C,         D D,   X     E, or    X F below; or
 B    D    Payment to begin immediately (may be combined with              DC,      D D, or      D F below); or
 C    D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     X    Payment during the term of supervised release will commence within      30 days (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    X    Special instructions regarding the payment of criminal monetary penalties:
           While incarcerated, if the defendant is working in a non-UNICOR or grade 5 UNICORjob, defendant shall pay
           $25.00 per quarter toward defendant's restitution obligation. If working in a grade 1-4 UNICORjob, defendant shall
           pay 50% of defendant's monthly pay toward defendant's restitution obligation. Any change in this schedule shall be
           made only by order of this Court.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
